         Case 3:22-cv-00170-FM Document 5 Filed 06/24/22 Page 1 of 3

                                                                                    FILED
                                                                                 June 24, 2022
                                                                              CLERK, US. DISTRICT COURT
                                                                              WESTERN DISTRICT OF TEXAS
                           UNITED STATES DISTRICT COURT                  BY       Michael Trujillo
                            WESTERN DISTRICT OF TEXAS                                           DEPUTY
                                 EL PASO DIVISION

                                                 §
MABEL ARREDONDO,                                 §
                                                 §
                             Plaintiff,          §
                                                 §
                v.                               §      EP-22-CV-0 170
                                                 §
DOCUPROS, a California Corporation, and          §
GUSTAVO ADOLFO LOPEZ aka                         §
GUSTAVO A. LOPEZ CHAVEZ,                         §
                                                 §
Defendants.                                      §
                                                 §


PLAINTIFF'S MOTION TO DISMISS WITH PREJUDICE AGAINST DEFENDANTS
DOCUPROS AND GUSTAVO ADOLFO LOPEZ AKA GUSTAVO A. LOPEZ CHAVEZ
       COMES NOW Plaintiff Mabel Arredondo, in his individual capacity, and moves to

dismiss Defendants Docupros, Gustavo Adolfo Lopez aka Gustavo A. Lopez Chavez with

prejudice. Plaintiff and Defendants Docupros and Gustavo Adolfo Lopez aka Gustavo A. Lopez

Chavez have resolved their case.


June 22, 2022


                                          Respectfully submitted,



                                          Mabel Arredondo
                                          9328 Lait Drive
                                          El Paso, TX 79925
                                          (915) 999-8219
                                          Mabel .arredondo22@mail.com
          Case 3:22-cv-00170-FM Document 5 Filed 06/24/22 Page 2 of 3




                                 CERTIFICATE OF SERVICE

        I certify that on June 23, 2022, the foregoing document was electronically submitted to
the clerk of the court for the Western District of Texas, using the electronic case filing system of
the Court. I certify that I have served all counsel of record via electronic mail a copy of the
foregoing.


June 23, 2022                                 Respectfully submitted,




                                              Mabel Arredondo
                                              9328 Lait Drive
                                              El Paso, TX 79925
                                              (915) 999-8219
                                              Mabel.arredondo22gmai 1.com
                         Case 3:22-cv-00170-FM Document 5 Filed 06/24/22 Page 3 of 3
      RECEIVED
       June 24, 2022
  CLERK, U.S. DISTRICT COURT
  WESTERN DISTRICT OF TEXAS

BY:   Michael Trujillo
                     DEPUTY              UNITED STATES DISTRICT COURT
                                          WESTERN DISTRICT OF TEXAS
                                               EL PASO DIVISION

                                                                 §
               MABEL ARREDONDO,                                  §
                                                                 §
                                           Plaintiff,            §
                                                                 §
                               V.                                §     EP-22-CV-0 170
                                                                 §
               DOCUPROS, a California Corporation, and           §
               GUSTAVO ADOLFO LOPEZ aka                          §
               GUSTAVO A. LOPEZ CHAVEZ,                          §
                                                                 §
               Defendants.                                       §
                                                                 §


                       Upon consideration of Plaintiffs Motion to Dismiss Defendants Docupros and Gustavo
               Adolfo Lopez aka Gustavo A. Lopez Chavez. this,        day of                   2022,

                       ORDERED that Plaintiff's Motion to Dismiss Defendants DOCUPROS and GUSTAVO

               ADOLFO LOPEZ aka GUSTAVO A. LOPEZ CHAVEZ and is hereby

               GRANTED;


               SO ORDERED



                                                         United States District Judge
